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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
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UNITED STATES OF AMERICA... :_ Criminal No. QZ - 331( TH»
Hes FG PS
BOE hw fae tae
Vv.

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RENE ABREU, ‘EBEtle 18, United States Code,
LOURDES ADAN-ABREU, wits Sections 215, 371, 1341, 1344,
ANA MARTELL, : 1951, 1956 and 2; Title 31,

KATHY GIUNTA, : United States Code, Sections

VALERIANO SANCHEZ, : 5324(a) (3) and 5324 (d) (1)
a/k/a “Valerio Sanchez,” :

FERNANDO JIMENEZ,

EDGARDO AGUIRRE,
a/k/a “Eddie Aguirre,”

RONALD ROSNER,

LUIS NIEVES,

JOSE CERVINO and

MANUEL MIER, :
a/k/a “Manny Mier” : INDICTMENT

The Grand Jury in and for the District of New Jersey,
sitting at Newark, charges:
COUNT ONE

(Mail Fraud Conspiracy - Residential Loans)

1. At all times relevant to this Indictment:

a. The Mortgage Pros, Inc. (hereinafter “Mortgage
Pros”), located at 6808 Bergenline Avenue, Guttenberg, New
Jersey, was a mortgage brokerage company engaged in the business
of securing residential and commercial loans from lending and
financial institutions on behalf of its clients. Mortgage Pros
operated under a mortgage banking license issued from the New
Jersey Department of Banking and Insurance.

b. Abreu Real Estate, located at 6808 Bergenline
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Avenue, Guttenberg, New Jersey, was a real estate company engaged
in the business of buying and selling real estate in New Jersey.

c. RLA Homes, Inc. (hereinafter “RLA Homes”),
located at 6808 Bergenline Avenue, Guttenberg, New Jersey, was a
company engaged in the business of managing the development,
construction and sale of real estate in New Jersey.

dad. Defendant RENE ABREU was the president of
Mortgage Pros, and owned and/or controlled the operations of
Mortgage Pros, Abreu Real Estate and RLA Homes. ABREU’s
responsibilities as owner and President of Mortgage Pros included
establishing relationships with lending and financial
institutions, obtaining personal and financial information from
individual clients applying for loans, preparing loan
applications for Mortgage Pros clients, reviewing loan
applications prepared by other Mortgage Pros employees, and
submitting or causing the submission of the loan applications to
lending and financial institutions.

e. Defendant LOURDES ADAN-ABREU was an owner of
Abreu Real Estate and RLA Homes, whose responsibilities included
supervising the sale of real estate involving Abreu Real Estate
and RLA Homes, soliciting loan customers on behalf of Mortgage
Pros, signing settlement documents on behalf of RLA Homes and
Abreu Real Estate, and facilitating the processing of loan
applications on behalf of Mortgage Pros.

f. Defendant ANA MARTELL was employed by RLA

Homes as the Chief Financial Officer and by Mortgage Pros as an
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administrative assistant whose responsibilities included
bookkeeping, accounting, and processing loan applications for
clients of Mortgage Pros and RLA Homes.

g. Defendant KATHY GIUNTA was employed by
Mortgage Pros as a loan originator and processor whose
responsibilities included obtaining personal and financial
information from individuals applying for loans, preparing loan
applications for Mortgage Pros clients, and submitting or causing
the submission of these applications to lending and financial
institutions.

h. Defendant FERNANDO JIMENEZ was employed by
Mortgage Pros as a loan originator and processor whose
responsibilities included obtaining financial information from
individuals applying for loans, preparing loan applications for
Mortgage Pros clients, and submitting or causing the submission
of these applications to lending and financial institutions.

i. Defendant VALERIANO SANCHEZ, a/k/a “Valerio
Sanchez,” was employed by Mortgage Pros as a real estate agent
whose responsibilities included soliciting loan customers on
behalf of Mortgage Pros, preparing loan applications for Mortgage
Pros clients, and submitting or causing the submission of these
applications to lending and financial institutions.

j. Defendant EDGARDO AGUIRRE, a/k/a “Eddie
Aguirre,” was employed by Abreu Real Estate as a real estate
agent whose responsibilities included soliciting loan customers

on behalf of Mortgage Pros, preparing loan applications for
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Mortgage Pros clients, and submitting or causing the submission
of these applications to lending and financial institutions.

k. Defendant RONALD ROSNER was an accountant
hired by defendant RENE ABREU whose responsibilities included the
preparation and submission of periodic financial statements to
the New Jersey Department of Banking and Insurance in furtherance
of the retention of defendant ABREU’s mortgage banking license.

1. Hudson United Bank (hereinafter “Hudson
United”) of Mahwah, New Jersey; Flagstar Bank, FSB (formerly
First Security Savings Bank) (hereinafter “Flagstar”) of
Bloomfield Hills, Michigan; Household Bank, FSB (hereinafter
“Household”) of Wooddale, Illinois; and Bank United (formerly
Bank United of Texas, FSB) (hereinafter “Bank United”) of
Houston, Texas, were financial institutions as defined in Title
18, United States Code, Section 20, whose deposits were insured
by the Federal Deposit Insurance Corporation (hereinafter
collectively referred to as “financial institutions"). The
financial institutions extended residential and commercial loans
to Mortgage Pros clients upon receipt of loan applications and
related documentation prepared and submitted by Mortgage Pros
employees or associates.

m. Ivy Mortgage Corporation of Bellemead, New
Jersey; Accubanc Mortgage Corporation of Dallas, Texas; Crossland
Mortgage Corporation of Woburn, Massachusetts; Wall Street
Mortgage of Greenwich, Connecticut; Norwest Mortgage, Inc. of

Springfield, Illinois; Medallion Mortgage Company of San Jose,
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California (formerly of Somerset, New Jersey); DMR Financial
Services of Woburn, Massachusetts; National Standard Mortgage
Corporation of Tarrytown, New York (formerly of Ocean, New
Jersey); and Jersey Mortgage Company of Cranford, New Jersey were
mortgage banking companies which operated as lending institutions
(hereinafter collectively referred to as “lending institutions”),
and which extended residential and commercial loans to Mortgage
Pros clients upon receipt of loan applications and related
documentation prepared and submitted by Mortgage Pros employees
or associates.

2. New Jersey Department of Banking and Insurance
regulations required that Mortgage Pros maintain a net worth of
$250,000 to retain its mortgage banking license.

The Conspiracy

3. From in or about November 1992 through in or about
July 1997, in Hudson County, in the District of New Jersey, and
elsewhere, defendants
RENE ABREU,
LOURDES ADAN-ABREU,
ANA MARTELL,
KATHY GIUNTA,
VALERIANO SANCHEZ, a/k/a “Valerio Sanchez,”
FERNANDO JIMENEZ,
EDGARDO AGUIRRE, a/k/a “Eddie Aguirre,” and
RONALD ROSNER
knowingly and willfully combined, conspired and agreed with each
other and with others to devise a scheme and artifice to defraud
lending and financial institutions and to obtain money and
property from them by means of materially false and fraudulent

pretenses, representations and promises affecting financial

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institutions, and to knowingly and willfully cause false loan
applications to be sent or delivered by means of the United
States Mail and by private and commercial interstate carrier to
lending and financial institutions for the purpose of executing
such scheme and artifice, contrary to Title 18, United States
Code, Section 1341.

The Object of the Conspiracy

4. The object of the conspiracy was to submit
materially false loan applications to financial and lending
institutions to induce the institutions to issue residential
loans to clients of Mortgage Pros.

The Manner and Means of the Conspiracy

5. It was part of the conspiracy that defendants RENE
ABREU, LOURDES ADAN-ABREU, ANA MARTELL, KATHY GIUNTA, VALERIANO
SANCHEZ, a/k/a “Valerio Sanchez,” EDGARDO AGUIRRE, a/k/a “Eddie
Aguirre,” FERNANDO JIMENEZ, and others, recruited individuals who
expressed an interest in purchasing residential properties
(hereafter collectively referred to as “borrowers”) to use
Mortgage Pros to obtain mortgages for the purchase of the
residential properties.

6. It was a further part of the conspiracy that
defendants RENE ABREU, KATHY GIUNTA, VALERIANO SANCHEZ, a/k/a
“Valerio Sanchez,” EDGARDO AGUIRRE, a/k/a “Eddie Aguirre,”
FERNANDO JIMENEZ, and others, met with borrowers in order to
obtain financial information purportedly for use in preparing

mortgage applications for residential properties. After these
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meetings, defendants ABREU, GIUNTA, SANCHEZ, AGUIRRE, JIMENEZ,
and others, disregarded financial information provided to them by
the borrowers and prepared materially false loan applications
which were submitted to lending and financial institutions to
induce the institutions to make loans to the borrowers. These
applications contained, among other falsified documents,
fictitious personal financial statements, income tax returns,
Internal Revenue Service Forms W-2 (hereinafter “W-2 forms”),
bank statements, pay stubs, and verifications of employment forms
(hereinafter “VOE forms”), which were prepared by other
individuals either employed by or associated with Mortgage Pros.

7. It was a further part of the conspiracy that
defendant RENE ABREU supervised and directed other Mortgage Pros
employees and associates to falsify documents contained in loan
applications and submit such falsified documents to lending and
financial institutions.

8. It was a further part of the conspiracy that
defendants RENE ABREU, VALERIANO SANCHEZ, a/k/a “Valerio
Sanchez,” and others prepared or caused the preparation of
materially false HUD-1 settlement statements for real estate
closings involving purchasers who had obtained mortgages through
Mortgage Pros. The HUD-1 settlement statements misrepresented
the exchange of funds between purchaser and seller by reflecting,
among other things, the existence of downpayments and/or closing
costs which never were transacted. Defendants ABREU, SANCHEZ and

others submitted or caused the submission of these fictitious
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HUD-1 statements to lending and financial institutions.

9.

It was a further part of the conspiracy that

defendants RENE ABREU, LOURDES ADAN-ABREU, ANA MARTELL, KATHY

GIUNTA, VALERIANO SANCHEZ,

a/k/a “Valerio Sanchez,” EDGARDO

AGUIRRE, a/k/a “Eddie Aguirre,” FERNANDO JIMENEZ, and others,

caused the following residential loans, among others, to be
obtained based on materially false information:
Description Mailing Amount Falsified
of Date of “Documents
Loan Loan Submitted to
Lending or
Financial
Institution
residential 9/29/92 $279,000 | sales contract;
1992 loan secured W-2 form;
by 8804 4° pay stub;
Avenue, North bank statement;
Bergen, New and HUD-1
Jersey settlement
statement
b. | July residential 7/24/95 $151,050 | VOE form;
1995 loan secured W-2 form; and
by 108 67° pay stub
Street, West
New York, New
Jersey
c. | July residential 7/7/95 $244,800 | sales contract;
1995 loan secured VOE form;
by 1451 72"¢ W-2 form;
Street, North pay stub;
Bergen, New bank statement;
Jersey and HUD-1
settlement
statement
d. | August residential 7/18/95 $171,000 }| VOE form;
1995 loan secured W-2 form;
by 1211 88 pay stub; and
Street, North bank statement
Bergen, New
Jersey

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ee —
Description Amount Falsified
of of Documents
Loan Loan Submitted to
. Lending or
Financial
oe institution
e. | September residential 8/3/95 $166,500 | sales contract;
1995 loan secured VOE form;
by 1015 West W-2 form;
Side Avenue, pay stub;
Jersey City, income tax
New Jersey return;
bank statement;
and HUD-1
settlement
statement
f. | December residential 11/21/95 | $157,500 | VOE form;
1995 loan secured W-2 form;
by 1009 76 pay stub;
Street, North bank statement;
Bergen, New and HUD-1
Jersey settlement
statement
g. | March residential 2/1/96 $179,000 |} sales contract;
1996 loan secured income tax
by 1115-1117 return;
73*¢ Street, bank statement;
North Bergen, and HUD-1
New Jersey settlement
statement
h. | June residential 6/12/96 $148,500 | bank statement;
1996 loan secured and income tax
by 610 8274 return
Street, North
Bergen, New
Jersey
i. | December residential 10/30/96 | $107,000 | VOE form;
1996 loan secured W-2 form; and
by 624 215% pay stub
Street, Union
City, New
Jersey

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Description Mailing Falsified
of of Date ee Documents
Loan Loan Loan Submitted to
Lending or
Financial
: Institution
j. | December residential 12/4/96 $46,400 VOE form; and
1996 loan secured pay stub
by 10 Carter
Street, Toms
River, New
Jersey
k. | March residential 2/5/97 $242,900 | sales contract;
1997 loan secured VOE form;
by 1443 43°49 W-2 form;
Street, North pay stub;
Bergen, New bank statement ;
Jersey and HUD-1
settlement
statement
1. | May residential 5/15/97 $286,000 | sales contract;
1997 loan secured VOE form;
by 1138-1140 W-2 form;
50% Street, pay stub;
North Bergen, bank statement;
New Jersey and HUD-1
settlement
statement

Subsequently, the loans described in Paragraphs 9 a, b, c, e, and
£f defaulted, causing a loss of approximately $131,000 to the
lending and financial institutions.

10. It was a further part of the conspiracy that after
a mortgage was obtained from a lending or financial institution,
defendants RENE ABREU, LOURDES ADAN-ABREU, ANA MARTELL, KATHY
GIUNTA, VALERIANO SANCHEZ, a/k/a “Valerio Sanchez,” EDGARDO
AGUIRRE, a/k/a “Eddie Aguirre,” FERNANDO JIMENEZ, and others,
destroyed financial documents, such as income tax returns and bank
statements, provided by borrowers to Mortgage Pros which

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contradicted the fictitious documents created by Mortgage Pros and
submitted to lending and financial institutions.

11. It was a further part of the conspiracy that
Mortgage Pros charged borrowers a fee to prepare their loan
applications. Mortgage Pros also charged borrowers a loan
origination fee for obtaining a mortgage on their behalf and
received an additional fee from lending and/or financial
institutions after the institution issued the loan. In several
transactions, Abreu Real Estate also received commissions
resulting from the sale of residential properties in connection
with loans obtained through Mortgage Pros. Moneys received by
Mortgage Pros and Abreu Real Estate in connection with the scheme
and artifice to defraud totaled in excess of $300,000.

12. It was a further part of the conspiracy that
defendants VALERIANO SANCHEZ, a/k/a “Valerio Sanchez,” EDGARDO
AGUIRRE, a/k/a “Eddie Aguirre,” and FERNANDO JIMENEZ received a
brokerage commission of approximately one percent of the value of
the mortgage for each loan application originated or processed.

13. It was a further part of the conspiracy that
defendant RONALD ROSNER prepared false financial statements on
behalf of defendant RENE ABREU, and caused such financial
statements to be submitted to the New Jersey Department of Banking
and Insurance in order for ABREU to retain his mortgage banking

license.

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effect the object thereof,

14.

Overt Acts

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In furtherance of the conspiracy and in order to

the following overt acts were committed

in the District of New Jersey and elsewhere:

Date

Description
of
Loan

Mailing
Date

Amount
“OE
Loan

Falsified
Documents
Submitted to
Lending or

Financial
Institution
a. |November | residential 9/29/92 $279,000 | sales contract;
1992 loan secured W-2 form;
by 8804 4 pay stub;
Avenue, bank statement;
North and HUD-1
Bergen, New settlement
Jersey statement
b. | December | residential 10/23/93 $187,000 | VOE form;
1993 loan secured W-2 form; and
by 67 68 pay stub
Street,
Guttenberg,
New Jersey
c. | March residential 3/16/94 $148,500 | VOE form;
1994 loan secured W-2 form;
by 1505 85% pay stub; and
Street, income tax return
North
Bergen, New
Jersey
d. | February | residential 2/23/95 $138,000 | VOE form;
1995 loan secured W-2 form;
by 18 pay stub; and
Pulaski income tax return
Place,
Hackensack,
New Jersey

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| Description Mailing Amount Falsified
Date of ‘Date of - Documents
of Loan Loan Submitted..to
~~ Goan Lending or
a | Financial
| Institution
March residential 2/24/95 $85,000 VOE form;
1995 loan secured W-2 form; and
by 1804 4374 pay stub
Street,
North
Bergen, New
Jersey
May residential 5/8/95 $80,000 VOE form;
1995 loan secured W-2 form;
by 226 Maple pay stub; and
Street, income tax return
Weehawken,
New Jersey
July residential 7/7/95 $244,800 | sales contract;
1995 loan secured VOE form;
by 1451 7274 W-2 form;
Street, pay stub;
North bank statement;
Bergen, New and HUD-1
Jersey settlement
statement
August residential 7/18/95 $171,000 | VOE form;
1995 loan secured W-2 form;
by 1211 88™ pay stub; and
Street, bank statement
North
Bergen, New
Jersey
December | residential 11/21/95 $157,500 | VOE form;
1995 loan secured W-2 form;
by 1009 76% pay stub;
Street, bank statement;
North and HUD-1
Bergen, New settlement
Jersey statement

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Hse

Description | Mailing Amount Falsified
Date of Date of Documents
of Loan © Loan Submitted to

Loan Lending or
: : ee Financial ©
Institution
3}. | March residential 2/1/96 $179,000 sales contract;
1996 loan secured income tax
by 1115-1117 return;
73°? Street, bank statement;
North and HUD-1
Bergen, New settlement
Jersey statements
k. | August residential 7/31/96 $500,000 | W-2 form; and
1996 loan secured income tax return
by 108 Old
Tappan Road,
Old Tappan,
New Jersey
1. | May residential 5/15/97 $286,000 | sales contract;
1997 loan secured VOE form;
by 1138-1140 W-2 form;
50° Street, pay stub;
North bank statement;
Bergen, New and HUD-1
Jersey settlement
statement

In violation of Title 18, United States Code, Section

371.

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COUNT TWO

(Mail Fraud Conspiracy - Commercial Loans)

1. Paragraphs 1 through 2 and 4 through 13 of Count
One are realleged and incorporated as if fully set forth herein.

2. Defendant LUIS NIEVES was employed by Hudson
United, in New Jersey, as a senior loan officer whose
responsibilities included processing commercial loan applications,
managing commercial accounts for Hudson United customers,
presenting commercial loan applications to loan review committees
at Hudson United, approving commercial loan applications on behalf
of Hudson United, and resolving accounts which had been overdrawn.
Defendant NIEVES managed several commercial bank accounts which
had been opened by defendant RENE ABREU.

The Conspiracy

3. From in or about October 1994 to in or about

February 2001, in Hudson County, in the District of New Jersey,
and elsewhere, defendants

RENE ABREU,

ANA MARTELL,

KATHY GIUNTA, and

LUIS NIEVES
knowingly and willfully combined, conspired and agreed with each
other and with others to devise a scheme and artifice to defraud
financial institutions and to obtain money and property from them
by means of materially false and fraudulent pretenses,

representations and promises affecting financial institutions, and

to knowingly and willfully cause false loan applications to be

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sent or delivered by means of the United States Mail and by
private and commercial interstate carrier to financial
institutions for the purpose of executing such scheme and
artifice, contrary to Title 18, United States Code, Section 1341.

The Object of the Conspiracy

4. The object of the conspiracy was to submit
materially false loan applications to financial institutions to
induce the institutions to issue commercial loans to clients of
Mortgage Pros.

The Manner and Means of the Conspiracy

5. It was part of the conspiracy that defendant RENE
ABREU recruited individuals who expressed an interest in obtaining
commercial loans (hereafter “commercial borrowers”) to use
Mortgage Pros to obtain commercial loans for use in business
ventures.

6. It was a further part of the conspiracy that
defendants RENE ABREU, ANA MARTELL, KATHY GIUNTA, and others, met
with commercial borrowers in order to obtain financial information
purportedly for use in preparing mortgage applications for
commercial loans. After these meetings, defendants ABREU,
MARTELL, GIUNTA, and others, disregarded financial information
provided to them by the commercial borrowers and prepared
materially false loan applications which were submitted to Hudson
United to induce Hudson United to make loans to the commercial
borrowers. These applications contained, among other falsified

documents, fictitious personal financial statements and income tax

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returns which were prepared by other individuals either employed
by or associated with Mortgage Pros.

7. .(.It was a further part of the conspiracy that
defendants RENE ABREU and LOURDES ADAN-ABREU submitted, or caused
to be submitted to Hudson United, additional commercial loan
applications in furtherance of their own business ventures, which
applications contained materially false financial information.
Defendant LUIS NIEVES processed these commercial loan applications
for Hudson United, and misrepresented to the Hudson United loan
review committee the financial status of defendants ABREU, ADAN-
ABREU and their companies, including Mortgage Pros and Abreu Real
Estate, in order to secure commercial loans for defendants ABREU
and ADAN-ABREU.

8. It was a further part of the conspiracy that
defendants RENE ABREU, ANA MARTELL, KATHY GIUNTA, LUIS NIEVES, and
others, caused the following commercial loans, among others, to be

obtained based on materially false information:

Date ~. Description | Mailing Amoune | Falsified
of of Date of - Documents
Loan Loan Loan Submitted to
| | Financial
Institution
a. | November commercial 6/6/94 $111,000 | financial
1994 loan secured statement; and
by 1308 income tax
Summit return
Avenue, Union
City, New
Jersey

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Date Description Nailing | Amount Falsified
of of Date of Documents
Loan Loan Loan Submitted to
Financial
| Institution
February commercial 1/2/96 $130,000 | financial
1996 loan secured statement; and
by 519-521 income tax
54 Street, return
West New
York, New
Jersey
April commercial 2/29/96 | $250,000 | financial
1996 loan secured statement; and
by 7701-7703 income tax
Bergenline return
Avenue, North
Bergen, New
Jersey
October commercial 8/15/96 | $285,000 |} financial
1996 loan secured statement; and
by 509-515 income tax
74% Street, return
North Bergen,
New Jersey
June commercial 6/4/97 $253,000 | financial
1997 loan secured statement; and
by 4915 income tax
Bergenline return
Avenue, West
New York, New
Jersey
October commercial 11/6/98 | $150,000 | financial
1998 loan secured statement; and
by 1200-1208 income tax
70° Street return
and 7009-7011
Smith Avenue,
North Bergen,
New Jersey

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|

Date | Description ailing Falsified.
of. of Date Documents
Loan | Loan Submitted to
S Financial
7s eae _ Institution |
g. September | commercial 8/13/99 | $135,000 | financial
2000 loan secured statement; and
by 6331-6333 income tax
Durham return
Avenue, North
Bergen, New
Jersey
h. | February commercial 3/1/01 $100,000 | financial
2001 loan secured statement; and
by 1500 74% income tax
Street, North return
Bergen, New
Jersey

9. It was a further part of the conspiracy that
Mortgage Pros charged commercial borrowers a fee to prepare their
commercial loan applications. Mortgage Pros also received a loan
origination fee from the commercial borrowers for obtaining a
mortgage on their behalf. Commissions received by Mortgage Pros
in connection with the commercial mortgages based on materially
false information totaled in excess of $32,000.

10. It was a further part of the conspiracy that
defendant LUIS NIEVES received cash payments from defendant RENE
ABREU for loan applications processed through Hudson United, which
cash payments corresponded to approximately one percent of the

commercial loans issued by Hudson United.

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effect the object thereof,

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Overt Acts

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In furtherance of the conspiracy and in order to

in the District of New Jersey and elsewhere:

the following overt acts were committed

Date Description Mailing |. Amount Falsified
of of Date of Decuments |
Loan Loan lioan Submitted to-
Financial
Institution
a. | November commercial loan 6/6/94 $111,000 | financial
1994 secured by 1308 Statement; and
Summit Avenue, income tax
Union City, New return
Jersey
b. | April commercial loan 2/29/96 | $250,000 | financial
1996 secured by 7701- statement; and
7703 Bergenline income tax
Avenue, North return
Bergen, New
Jersey
c. | October commercial loan 8/15/96 | $285,000 | financial
1996 secured by 509- statement; and
515 74% Street, income tax
North Bergen, return
New Jersey
d. | October commercial loan 11/6/98 | $150,000 |] financial
1998 secured by 1200- statement; and
1208 70° Street income tax
and 7009-7011 return
Smith Avenue,
North Bergen,
New Jersey
e. | June commercial loan 6/13/00 | $100,000 | financial
2000 secured by 1121 statement
Juanita Place,
Fort Lee, New
Jersey

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Date Description Mailing | Amount Falsified
Of of Date of Documents
Loan Loan Loan Submitted..to
: Financial
Institution |
£. | September | commercial loan 8/13/99 | $135,000 | financial
2000 secured by 6331- statement; and
6333 Durham income tax
Avenue, North return
Bergen, New
Jersey
g. | February commercial loan 3/1/01 $100,000 | financial
2001 secured by 1500 statement; and
74™ Street, income tax
North Bergen, return
New Jersey
In violation of Title 18, United States Code, Section
371.

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COUNTS THREE TROUGH TWELVE

(Mail Fraud Affecting Financial Institutions)

1. Paragraphs 1 through 2 and 4 through 13 of Count
One and Paragraphs 2 and 4 through 10 of Count Two are realleged
and incorporated as if fully set forth herein.

2. Defendants JOSE CERVINO and RENE ABREU were
partners in several real estate ventures in Hudson County, New
Jersey, including the construction of Lucky Estates in North
Bergen, New Jersey and 2900 Bergenline Avenue in Union City, New
Jersey. Defendants CERVINO and ABREU secured commercial loans
from Hudson United and other financial institutions in furtherance
of these and other business ventures.

3. From at least in or about November 1992 through in
or about February 2001, in Hudson County, in the District of New
Jersey, and elsewhere, the defendants set forth in Paragraph 5
below did knowingly and willfully devise and intend to devise a
scheme and artifice to defraud financial institutions and to
obtain money and property from them by means of materially false
and fraudulent pretenses, representations, and promises affecting
financial institutions.

4. The object of the scheme and artifice to defraud
was to submit materially false loan applications to financial
institutions to induce the financial institutions to issue
commercial and residential loans to clients of Mortgage Pros.

5. On or about the dates set forth below, for the

purpose of executing the scheme and artifice to defraud, the

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defendants set forth below did knowingly and willfully cause the

false loan applications set forth below to be sent or delivered to

financial institutions by means of the United States Mail and by

private and commercial interstate carrier:

— —
Count | Defendants | Mailing | Description of Loan | Victim
Ee Date Lender
Three Abreu 9/29/92 residential loan Bank
Adan-Abreu secured by 8804 4™ United
Avenue, North
Bergen, New Jersey
Four Abreu 3/16/94 residential loan Household
Jimenez secured by 1505 85%
Giunta Street, North
Bergen, New Jersey
Five Abreu 7/7/95 residential loan Flagstar
Adan-Abreu secured by 1451 72"
Martell Street, North
Giunta Bergen, New Jersey
Six Abreu 7/18/95 residential loan Flagstar
Aguirre secured by 1211 88"
Martell Street, North
Giunta Bergen, New Jersey
Seven Abreu 11/21/95 | residential loan Flagstar
Sanchez secured by 1009 76°
Giunta Street, North
Bergen, New Jersey
Eight Abreu 2/1/96 residential loan Flagstar
Sanchez secured by 1115-
Giunta 1117 7379 Street,
North Bergen, New
Jersey
Nine Abreu 7/31/96 residential loan Hudson
Giunta secured by 108 Old United
Tappan Old, Old
Tappan, New Jersey
Ten Abreu 11/25/96 | commercial loan Hudson
Cervino secured by 6112- United
6020 76 Street,
now known as Lucky
Lane, North Bergen,
New Jersey

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Count | Defendants | Mailing | Description of Loan Victim
: \ Date : Lender
Eleven Abreu 11/6/98 commercial loan Hudson
Cervino secured by 7009- United
7011 Smith Avenue,
North Bergen, New
Jersey
Twelve Abreu 8/13/99 commercial loan Hudson
Aguirre secured by 6331- United
Giunta 6333 Durham Avenue,
North Bergen, New
Jersey
In violation of Title 18, United States Code, Sections
1341 and 2.
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COUNT THIRTEEN

(Money Laundering Conspiracy - Proceeds of Mail Fraud Scheme)

1. Paragraphs 1 through 2 and 4 through 13 of Count
One are realleged and incorporated as if fully set forth in full
herein.

2. As used in this Indictment, “financial transaction”
has the meaning given it in Title 18, United States Code, Section
1956 (c) (4).

The Conspiracy

3. From in or about November 1992 through in or about

July 1997, in Hudson County, in the District of New Jersey, and
elsewhere, defendants

RENE ABREU,

LOURDES ADAN-ABREU, and

ANA MARTELL
knowingly and willfully combined, conspired and agreed with each
other and with others to conduct financial transactions involving
the proceeds of a specified unlawful activity, namely mail fraud
as alleged in Counts One, and Three through Twelve, knowing that
the property involved in the financial transactions represented
the proceeds of some form of unlawful activity, with the intent to
promote the carrying on of the mail fraud scheme described in
Counts One, and Three through Twelve, contrary to Title 18, United
States Code, Section 1956 (a) (1) (A) (i).

The Object of the Conspiracy

4. The object of the conspiracy was to engage in

financial transactions with the proceeds of the mail fraud scheme

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in order to promote the continued operation of the scheme.

The Manner and Means of the Conspiracy

5. It was part of the conspiracy that after a mortgage
was obtained from a lending or financial institution based upon
materially false information as described in Count One, settlement
checks were issued to Mortgage Pros and Abreu Real Estate at the
closing of the residential properties. These checks represented
payment to Mortgage Pros for loan origination fees received from
borrowers, and additional fees received from lending and financial
institutions. Checks issued to Abreu Real Estate represented
payment for commissions resulting from the sale of residential
properties in connection with loans obtained through Mortgage
Pros. Checks received by Mortgage Pros and Abreu Real Estate were
thereafter deposited into their respective commercial bank
accounts which were maintained by defendants RENE ABREU, LOURDES
ADAN-ABREU, ANA MARTELL, and others at Hudson United Bank. From
in or about November 1992 through in or about July 1997, payments
received by Mortgage Pros and Abreu Real Estate in this manner and
deposited into their respective bank accounts totaled in excess of
$300,000.

6. It was a further part of the conspiracy that after
the checks described in Paragraph 5 of this Count were deposited
into the Mortgage Pros and Abreu Real Estate bank accounts,
defendants RENE ABREU, LOURDES ADAN-ABREU, ANA MARTELL, and others
issued checks drawn on these accounts to pay expenses, enabling

the continued operation of Mortgage Pros and Abreu Real Estate.

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These expenses included commission and salary checks issued to
individuals involved in the mail fraud scheme alleged in Counts
One, and Three through Twelve. Checks also were issued to the New
Jersey Department of Banking and Insurance enabling Mortgage Pros
to retain its mortgage brokerage license. Checks also were issued
for accounting fees, equipment rental, utilities, advertising, and
public relations. These transactions, totaling in excess of
$300,000, enabled the continued operation of the mail fraud scheme
described in Counts One and Three through Twelve.

In violation of Title 18, United States Code, Section

1956 (h).

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COUNT FOURTEEN

(Check Kiting Conspiracy)

1. Paragraphs 1 through 2 and 4 through 13 of Count
One; Paragraphs 2 and 4 through 10 of Count Two; and Paragraphs 2
and 4 through 6 of Count Thirteen are realleged and incorporated
as if fully set forth herein.

2. Hudson United was a federally insured financial
institution with various branch offices operating throughout the
State of New Jersey. Hudson United, among other things, provided
banking services to defendants RENE ABREU and LOURDES ADAN-ABREU.
Hudson United also provided banking services to several companies
owned and/or controlled by defendants ABREU and ADAN-ABREU,
including Mortgage Pros, RLA Homes, and others.

3. Hudson United maintained an overdraft policy for
accounts bearing insufficient funds whereby a computer-generated
report would be issued to senior loan officers and senior
management if a particular bank account was overdrawn in an amount
in excess of $5,000 for five consecutive days. Senior loan
officers at Hudson United also were alerted on a daily basis to
individual checks drawn on accounts bearing insufficient funds.
Checks drawn on accounts bearing insufficient funds required the
approval of a senior loan officer in order for the check to be
honored by Hudson United.

4. Defendant RENE ABREU opened, and caused to be
opened, several commercial bank accounts at Hudson United,

including Hudson United account number (hereinafter “Hudson United

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Acct. No.”) 0208585633 (hereinafter “Mortgage Pros Acct.”); Hudson
United Acct. No. 0208581996 (hereinafter “RLA Homes Acct”); Hudson
United Acct. No. 3980727853 (hereinafter “RLA Homes IV Acct.”);

Hudson United Acct. No. 2140000737 (hereinafter “RLA Homes/Special

III Acct.”); Hudson United Acct. No. 3980435446 (hereinafter “Rene
Abreu Acct.”); Hudson United Acct. No. 2140003323 (hereinafter

“Jersey Homes Tre Inc. Acct.”); Hudson United Acct. No. 2140003310
(hereinafter “Jersey Homes Tre Special Inc. Acct.”); Hudson United

Acct. No. 2140003381 (hereinafter “406 Jefferson Homes LLC

Acct.”); and Hudson United Acct. No. 2140003475 (hereinafter “7504
4? St. Ave. LLC Acct.”) (hereinafter collectively referred to as
the “Abreu commercial bank accounts”). Defendant ABREU was

authorized to draw checks on the Abreu commercial bank accounts.

5. Defendants RENE ABREU and LOURDES ADAN-ABREU
opened, and caused to be opened, several other commercial bank
accounts at Hudson United, including Hudson United Acct. No.
0208581938 (hereinafter “Abreu Real Estate Acct.” and hereinafter
included in the “Abreu commercial bank accounts”). Defendants
ABREU and ADAN-ABREU were authorized to draw checks on the Abreu
Real Estate account.

6. Defendant ANA MARTELL, in her capacity as
bookkeeper and accountant for Mortgage Pros and Chief Financial
Officer for RLA Homes, was authorized to write checks drawn on the

Abreu commercial bank accounts.

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The Conspiracy

7. From in or about April 1996 through in or about

June 2001, in Hudson County, in the District of New Jersey, and
elsewhere, defendants

RENE ABREU,

LOURDES ADAN-ABREU,
ANA MARTELL, and

LUIS NIEVES
knowingly and willfully combined, conspired and agreed with each
other and with others to execute and attempt to execute a scheme
and artifice to defraud Hudson United, and by means of false and
fraudulent pretenses, representations, and promises, to obtain
money, funds, credits, assets, securities, and other property
owned by, and under the custody and control of Hudson United,

contrary to Title 18, United States Code, Section 1344.

The Object of the Conspiracy

8. The object of the conspiracy was for defendants
RENE ABREU, LOURDES ADAN-ABREU, ANA MARTELL, LUIS NIEVES, and
others to continuously draw, or cause to be drawn, checks on
Abreu’s commercial bank accounts with insufficient funds and
credit, or cause to be credited, other accounts with these
seemingly bona fide checks. Defendants ABREU, ADAN-ABREU, and
MARTELL fraudulently issued, or caused to be issued, such checks
in order to pay the business and personal expenses of defendant
ABREU and others without having to obtain loans through official

means.

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The Manner and Means of the Conspiracy

9. It was part of the conspiracy that defendants RENE
ABREU, LOURDES ADAN-ABREU, ANA MARTELL, LUIS NIEVES, and others,
systematically presented, or caused to be presented to Hudson
United a check drawn from one of the Abreu commercial bank
accounts (hereinafter the “first account”) for deposit into
another of the Abreu commercial bank accounts which bore
insufficient funds (hereinafter the “second account”). The
transfer of funds from the first account to the second account
provided an instant credit to the second account, covered an
existing overdraft in the second account, and shifted the
overdraft from the second account to the first account.
Defendants ABREU, ADAN-ABREU, NIEVES, MARTELL, and others
thereafter presented, or cause to be presented to Hudson United, a
check drawn from the second account for deposit into the first
account to cover the existing overdraft in the first account.

10. It was a further part of the conspiracy that, in
order to avoid detection by Hudson United of the continuous
overdrafts in the Abreu commercial bank accounts, LUIS NIEVES
approved, or directed other Hudson United employees to approve,
each check drawn on Abreu commercial bank accounts which bore
insufficient funds.

11. It was a further part of the conspiracy that
defendants RENE ABREU, LOURDES ADAN-ABREU, ANA MARTELL, LUIS
NIEVES, and others amassed or caused to be amassed daily

overdrafts in Abreu’s commercial bank accounts which exceeded

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$1,000,000 on at least twenty-one different dates, and exceeded
$500,000 on at least 283 different dates, during the time period

from on or about June 1, 2000 through on or about June 15, 2001.

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Overt Acts

12. In furtherance of the conspiracy and in order to
effect the object thereof, on or about the dates set forth below,
the following overt acts were committed in the District of New

Jersey and elsewhere:

Date Check | Account Check Account Check Check
Number Drawn From Deposited. Into Amount
a. | 11/10/97 | 2627 RLA Homes Mortgage Pros $223,595
Acct. Acct.
b. | 11/13/97 | 7844 Mortgage Pros RLA Homes Acct. $223,595
Acct.
c. | 2/4/98 9791 Abreu Real RLA Homes/Special | $430,000
Estate Acct. III Acct.
d. | 2/6/98 1188 RLA Homes/ Abreu Real Estate | $430,000
Special III Acct.
Acct.
e. | 12/7/99 9066 Mortgage Pros RLA Homes Acct. $562,500
Acct.
£. | 12/9/99 3235 RLA Homes Mortgage Pros $562,500
Acct. Acct.
g. | 6/2/00 9297 Mortgage Pros RLA Homes Acct. $545,000
Acct.
h. | 6/5/00 3355 RLA Homes Mortgage Pros $545,000
Acct. Acct.
i. 15/24/01 1075 7504 4% St. RLA Homes Acct. $729,000
Ave. LLC
Acct.

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| Date Check -| Account Check Account Check | Check
Number Drawn From Deposited Into Amount

3. [5/29/01 3751 RLA Homes 7504 4™ St. Ave. | $729,000
Acct. LLC Acct.

In violation of Title 18, United States Code, Section

371.

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COUNT FIFTEEN

(Money Laundering Conspiracy - Proceeds of Bank Fraud Scheme)

1. Paragraphs 1 through 2 and 4 through 13 of Count
One; Paragraphs 2 and 4 through 10 of Count Two; and Paragraphs 2
through 6 and 8 through 11 of Count Fourteen are realleged and
incorporated as if fully set forth herein.

The Conspiracy

2. From in or about April 1996 through in or about
June 2001, in Hudson County, in the District of New Jersey, and
elsewhere, defendants
RENE ABREU,
LOURDES ADAN-ABREU,
ANA MARTELL, and
LUIS NIEVES
knowingly and willfully combined, conspired and agreed with each
other and with others to conduct financial transactions involving
the proceeds of a specified unlawful activity, namely bank fraud
as alleged in Count Fourteen, knowing that the property involved
in the financial transactions represented the proceeds of some
form of unlawful activity, with the intent to promote the carrying
on of the bank fraud scheme described in Count Fourteen, contrary

to Title 18, United States Code, Section 1956 (a) (1) (A) (1).

The Object of the Conspiracy

3. The object of the conspiracy was to engage in
financial transactions with the proceeds of the bank fraud scheme
described in Count Fourteen to promote the continued operation of

the scheme.

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The Manner and Means of the Conspiracy

4. It was part of the conspiracy that defendants RENE
ABREU, LOURDES ADAN-ABREU, and ANA MARTELL issued checks drawn on
the Abreu commercial bank accounts with insufficient funds in
order to credit other accounts with these seemingly bona fide
checks, thus enabling them to obtain an artificially created line
of credit in the account into which these checks were deposited,
and enabling them to pay the business and personal expenses of
defendant ABREU and others without having to obtain loans through
official means.

5. It was a further part of the conspiracy that
defendants RENE ABREU, LOURDES ADAN-ABREU, ANA MARTELL, LUIS
NIEVES, and others, in order to avoid detection by Hudson United
of the continuous overdrafts in the Abreu commercial bank accounts
created by the check kiting scheme alleged in Count Fourteen,
systematically issued, or caused to be issued, checks drawn on the
accounts with an artificially created line of credit and deposited
these checks into overdrawn accounts enabling this scheme to
continue.

6. It was a further part of the conspiracy that
defendant LUIS NIEVES, in order to avoid detection by Hudson
United of the continuous overdrafts in the Abreu commercial bank
accounts created by the check kiting scheme alleged in Count

Fourteen, systematically approved, or directed other Hudson United

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employees to approve, each check drawn on Abreu commercial bank

accounts which bore insufficient funds.

In violation of Title 18, United States Code, Section

1956 (h).

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COUNT SIXTEEN

(Receipt of Payment for Procuring Loans)

1. Paragraphs 1 through 2 and 4 through 13 of Count
One; Paragraphs 2 and 4 through 10 of Count Two; Paragraphs 2
through 6 and 8 through 11 of Count Fourteen; and Paragraphs 3
through 6 of Count Fifteen are realleged and incorporated as if
fully set forth herein.

2. In or about November 1997, in Hudson County, in the
District of New Jersey, and elsewhere, defendant

LUIS NIEVES,

as an officer and employee of Hudson United, a financial
institution, did knowingly, willfully and corruptly solicit,
demand, and accept a thing of value from another individual,
intending to be influenced and rewarded in connection with
business and transactions of Hudson United, in that defendant
NIEVES solicited, demanded, and accepted approximately $3,000 from
another individual in return and as a reward for his assistance in
helping the individual obtain a commercial loan.

In violation of Title 18, United States Code, Sections

215(a) (2) and 2.

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COUNT SEVENTEEN

(Conspiracy to Extort Money for Protection of Illegal Gambling)

1. Paragraphs 1 through 2 and 4 through 13 of Count
One; Paragraphs 2 and 4 through 10 of Count Two; Paragraphs 4
through 6 of Count Thirteen; Paragraphs 2 through 6 and 8 through
11 of Count Fourteen; and Paragraphs 3 through 6 of Count Fifteen
are realleged and incorporated as if fully set forth herein.

2. At all times relevant to this Indictment:

a. The West New York Police Department
(hereinafter “WNYPD”) was the principal local law enforcement
agency for the Town of West New York, New Jersey. The WNYPD had
the power and responsibility to enforce the criminal laws of the
State of New Jersey and the municipal ordinances of the Town of
West New York, including the enforcement of the New Jersey laws
regarding illegal gambling.

b. Alexander V. Oriente, the Chief of the WNYPD
from in or about 1994 through in or about September 1997, had
ultimate authority over the management and supervision of the
entire police department and the law enforcement efforts that it
undertook.

c. Gambling for money on electronic video
machines known as “joker poker” machines and other similar video
gambling machines, if not licensed and regulated in accordance
with State law, was illegal under the laws of New Jersey, pursuant
to N.Jd. Stat. Ann. § 2C:37-2.

d. Boardwalk Amusements, located in West New

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York, New Jersey, was a business which included, among other
things, the ownership and distribution of video gambling machines
to restaurants, taverns, bodegas and other establishments located
in West New York, New Jersey and elsewhere for illegal gambling
activities. The machines used by Boardwalk Amusements for this
purpose were comprised of component parts, including circuit
boards, dollar bill acceptors and video monitors, some of which
were manufactured and assembled outside of New Jersey.

The Conspiracy

3. From in or about June 1995 through in or about
March 1998, in West New York, in the District of New Jersey, and
elsewhere, defendants

RENE ABREU and
MANUEL MIER, a/k/a “Manny Mier”

knowingly and willfully combined, conspired and agreed with each
other and with others to obstruct, delay and affect interstate
commerce by extortion, under color of official right, by demanding
and accepting bribe and protection money from the proceeds of the
video gambling business of Boardwalk Amusements, which money was
paid with the consent of the owners and operators of that
business.

The Object of the Conspiracy

4. The object of the conspiracy was to collect cash
payments from the owners and operators of Boardwalk Amusements for
the protection and promotion of illegal gambling activity in West

New York, New Jersey by the WNYPD.

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The Manner _ and Means of the Conspiracy

5. It was part of the conspiracy that the owners of
Boardwalk Amusements placed video poker and similar gambling
machines which were not licensed and regulated by New Jersey laws
at various locations in West New York. These machines were used
by customers who were paid money for credits accrued during the
course of their play. The owners of Boardwalk Amusements
reimbursed the owners of the locations where the machines were
placed for the payouts that they made to winning patrons. The
remaining money, the “Profit,” was then divided between the
location owners and the owners of Boardwalk Amusements.

6. It was a further part of the conspiracy that the
owners of Boardwalk Amusements conducted these illegal gambling
operations with the knowledge and protection of the WNYPD. In
exchange for the protection and promotion of this activity by the
WNYPD, the owners of Boardwalk Amusements and others made bribe
and protection payments directly to WNYPD officers, including
Alexander V. Oriente, and indirectly to them through an individual
who served as their intermediary or “bagman.”

7. .%It was a further part of the conspiracy that
defendants RENE ABREU and MANUEL MIER, a/k/a “Manny Mier”
represented to Alexander V. Oriente that they were acting on
behalf of a high-level West New York public official.

8. It was a further part of the conspiracy that
defendants RENE ABREU and MANUEL MIER, a/k/a “Manny Mier” demanded

that Alexander V. Oriente deliver to them the Boardwalk Amusements

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extortion proceeds.

9. It was a further part of the conspiracy that from
in or about June 1995 through in or about July 1997, defendants
RENE ABREU and MANUEL MIER, a/k/a “Manny Mier” received these cash
payments from Alexander V. Oriente and others.

10. It was a further part of the conspiracy that
defendants RENE ABREU and MANUEL MIER, a/k/a “Manny Mier” urged
others to conceal their participation in receiving these cash
payments from law enforcement.

In violation of Title 18, United States Code,

Section 1951 (a).

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COUNT EIGHTEEN

(Conspiracy to Structure Currency Transactions)

1. Paragraphs 1 through 2 and 4 through 13 of Count
One; Paragraphs 2 and 4 through 10 of Count Two; Paragraphs 4
through 6 of Count Thirteen; Paragraphs 2 through 6 and 8 through
11 of Count Fourteen; Paragraphs 3 through 6 of Count Fifteen; and
Paragraphs 2 and 4 through 10 of Count Seventeen are realleged and
incorporated as if fully set forth herein.

2. At all times relevant to this Count of the
Indictment, Hudson United, First Union, The Bank of New York, The
Provident, and GSL Savings Bank were domestic financial
institutions within the meaning of Title 31, United States Code,
Sections 5312 and 5313(a) and Title 31, Code of Federal
Regulations, Section 103.11, and were engaged in activities that
affected interstate commerce.

The Conspiracy

3. From in or about May 1995 through in or about
November 2000, in the District of New Jersey and elsewhere,
defendants
RENE ABREU,
LOURDES ADAN-ABREU,
ANA MARTELL,
KATHY GIUNTA,
EDGARDO AGUIRRE, a/k/a “Eddie Aguirre,” and
MANUEL MIER, a/k/a “Manny Mier”
knowingly and for the purpose of evading the reporting
requirements of Title 31, United States Code, Section 5313(a) and
the regulations issued thereunder, combined, conspired and agreed

with each other and with others to structure and assist in

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structuring transactions with domestic financial institutions by
causing in excess of $2,000,000 in United States currency to be
deposited into accounts at financial institutions by the
defendants in amounts of less than $10,000, contrary to Title 31,
United States Code, Sections 5324(a) (3) and (d) (1).

The Object of the Conspiracy

4. It was the object of the conspiracy that defendants
RENE ABREU, LOURDES ADAN-ABREU, ANA MARTELL, KATHY GIUNTA, EDGARDO
AGUIRRE, a/k/a “Eddie Aguirre,” MANUEL MIER, a/k/a “Manny Mier,”
and others would and did structure various cash transactions to
avoid having domestic financial institutions file reports of those
transactions with the Internal Revenue Service (the “IRS”), as
required by law.

The Manner and Means of the Conspiracy

5. It was part of the conspiracy that defendant RENE
ABREU maintained numerous bank accounts at Hudson United. Over
the course of a five-year period, 1995 through 2000, defendants
RENE ABREU, LOURDES ADAN-ABREU, ANA MARTELL, KATHY GIUNTA, EDGARDO
AGUIRRE, a/k/a “Eddie Aguirre,” MANUEL MIER, a/k/a “Manny Mier,”
and others made, or caused to be made, cash deposits in excess of
$2,000,000 into accounts under defendant ABREU’s control. Each of
these deposits was in an amount under $10,000 and almost all of
the deposits were made at the West New York Branch of Hudson
United. In this manner defendant ABREU was able to avoid the
filing of currency transaction reports regarding the

aforementioned cash deposits.

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6. It was a further part of the conspiracy that
defendant LOURDES ADAN-ABREU made cash payments to at least one
bank employee for the employee’s assistance in structuring a
portion of the above-described cash deposits.

7. j%It was a further part of the conspiracy that
defendants ANA MARTELL, KATHY GIUNTA, EDGARDO AGUIRRE, a/k/a
‘Eddie Aguirre,” MANUEL MIER, a/k/a “Manny Mier,” and others made
significant cash deposits in amounts under $10,000 into bank
accounts under their control without the filing of a currency
transaction report. Almost immediately following such deposits,
defendants MARTELL, GIUNTA, AGUIRRE and MIER obtained either an
official check, certified check or bank check for the benefit of
defendant ABREU or one of the companies under his control. These
checks were then either deposited into bank accounts maintained by
defendants ABREU, ADAN-ABREU and MARTELL, typically as part of a
larger deposit, or negotiated for the benefit of defendant ABREU.
In this manner defendant ABREU was able to cause the deposit of
checks into accounts under his control in the amount equal to the
cash deposited into the accounts of defendants MARTELL, GIUNTA,
AGUIRRE, MIER, and others. These transactions further enabled the
defendants to avoid the filing of currency transaction reports.

8. It was a further part of the conspiracy that
defendants RENE ABREU and MANUEL MIER, a/k/a “Manny Mier,” urged
others to conceal their participation in this scheme, including
their receipt of cash payments more particularly described in

Count Seventeen.

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Overt Acts

9. In furtherance of the conspiracy and in order to effect
the object thereof, the following acts were committed in the
District of New Jersey and elsewhere:

a. On or about each of the dates set forth below,
members of the conspiracy structured and caused to be structured
the deposits in cash set forth below totaling approximately
$665,420 into the following bank accounts: Hudson United Acct. No.
0208585633 (previously defined in Count Fourteen as “Mortgage Pros
Acct.”)}; Hudson United Acct. No. 2140001626 (hereinafter “530
Monroe Affordable Acct.”); Hudson United Acct. No. 308087484
(hereinafter “Abreu, Rene/Lourdes Acct.(1)"”); Hudson United Acct.
No. 0308082861 (hereinafter “Abreu, Rene/Lourdes Acct. (2)");
Hudson United Acct. No. 0208581938 (previously defined in Count
Fourteen as the “Abreu Real Estate Acct.”); Hudson United Acct.
No. 0208582432 (hereinafter “Abreu Real Estate Trust Acct.”);
Hudson United Acct. No. 0208581996 (previously defined in Count
Fourteen as “RLA Homes Acct."); Hudson United Acct. No. 2140000737
(previously defined in Count Fourteen as “RLA Homes/Special III
Acct.”); Hudson United Acct. No. 1400007575 (hereinafter “Abreu,
Lourdes Acct.”); Hudson United Acct. No. 3980413691 (hereinafter
“Lourdes/Adan Acct.(2)”); Hudson United Acct. No. 2140003365
(hereinafter “85 Madison House LLC Acct.”); Hudson United Acct.
No. 3980156071 (hereinafter “85 Madison House LLC Acct. (2)"”),
Hudson United Acct. No. 3980156246 (hereinafter “85 Madison House

LLC Acct. (3)”"); Hudson United Acct. No. 2140003475 (previously

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defined in Count Fourteen as “7504 4% St Ave LLC Acct.”); Hudson
United Acct. No. 2140000902 (hereinafter “Jersey Homes II LLC
Acct.”); Hudson United Acct. No. 2140003323 (previously defined in
Count Fourteen as “Jersey Homes Tre Inc. Acct.”); Hudson United

Acct. No. 2140003381 (previously defined in Count Fourteen as “406

Jefferson Homes LLC Acct.”); Hudson United Acct. No. 2140002722
(hereinafter “235 727 St Acct.”); Hudson United Acct. No.
2720000524 (hereinafter “100-102 Jefferson LLC Acct.”); Hudson

United Acct. No. 2140002489 (hereinafter “Lucky Estates Inc
Acct.”); Hudson United Acct. No. 2140003310 (previously defined in
Count Fourteen as “Jersey Homes Tre Special Inc. Acct.”); Hudson
United Acct. No. 0308115000 (hereinafter “Abreu/Cervino Acct.”);

Hudson United Acct. No. 2140003200 (hereinafter “Gateway I LLC

Acct.”); Hudson United Acct. No. 4740895429 (hereinafter “Lourdes/
Adan Acct.(1)"); and GSL Savings Acct. No. 0017002304 (hereinafter
“Abreu Real Estate Trust Acct.”), as described below:
DATE: ACCOUNT : AMOUNT :

1. 05/02/97 RLA Homes Acct. $9,500.00
2. 05/05/97 Abreu, Rene/Lourdes Acct. (1) $3,005.00
3. 05/05/97 RLA Homes Acct. $9,000.00
4. 05/07/97 Abreu, Rene/Lourdes Acct. (2) $2,300.00
5. 05/07/97 Mortgage Pros Acct. $1,450.00
6. 05/19/97 Abreu Real Estate Acct. $8,000.00
7. 05/19/97 Abreu, Rene/Lourdes Acct. (1) $4,000.00
8. 05/19/97 Abreu, Rene/Lourdes Acct. (2) $4,000.00
9. 05/21/97 Abreu Real Estate Acct. $5,000.00

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Abreu, Rene/Lourdes Acct. (1)
100-102 Jefferson LLC Acct.
Mortgage Pros Acct.

RLA Homes Acct.

Abreu, Rene/Lourdes Acct. (2)
Abreu Real Estate Acct.
Abreu, Lourdes Acct.

Abreu, Rene/Lourdes Acct. (1)

Mortgage Pros Acct.

Abreu Real Estate Trust Acct.

Abreu, Rene/Lourdes Acct. (1)
Mortgage Pros Acct.

RLA Homes Acct.

Mortgage Pros Acct.

Abreu Real Estate Acct.
Abreu, Rene/Lourdes Acct. (1)
Mortgage Pros Acct.

RLA Homes Acct.

Abreu Real Estate Acct.
Mortgage Pros Acct.

RLA Homes Acct.

Mortgage Pros Acct.

RLA Homes Acct.

Abreu Real Estate Acct.
Abreu Real Estate Acct.

Abreu, Rene/Lourdes Acct. (1)

48

$540.00
$7,000.
$9,000.
$1,350.
$5,525.
$5,000.
$8,000.
$5,000.
$1,000.
$1,000.
$1,595.
$9,900.
$9,900.
$1,180.
$3,000.
$1,213.
$9,000.
$9,000.
$5,000.
$9,500.
$9,500.
$8,600.

$8,000.

$8,000.

$8,000.

$715.00

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Abreu, Rene/Lourdes Acct. (1)
Abreu, Rene/Lourdes Acct. (1)
Mortgage Pros Acct.

Abreu, Rene/Lourdes Acct. (1)
Abreu Real Estate Trust Acct.
Abreu Real Estate Trust Acct.
Abreu, Rene/Lourdes Acct. (1)
Lucky Estates Inc Acct.

Abreu Real Estate Trust Acct.
Abreu, Rene/Lourdes Acct. (1)
Abreu, Rene/Lourdes Acct. (1)
RLA Homes Acct.

Abreu Real Estate Trust Acct.
Abreu, Rene/Lourdes Acct. (1)
Abreu Real Estate Trust Acct.
Abreu, Rene/Lourdes Acct. (1)
Abreu, Rene/Lourdes Acct. (2)
235 72nd St Acct.

Abreu, Rene/Lourdes Acct. (1)
Lucky Estates Inc Acct.
Abreu Real Estate Trust Acct.
Abreu Real Estate Trust Acct.
RLA Homes Acct.

Mortgage Pros Acct.

RLA Homes Acct.

Mortgage Pros Acct.

49

$2,279.00
$950.00
$6,400.00
$1,830.00
$3,600.00
$1,300.00
$3,570.00
$2,700.00
$2,200.00
$1,275.00
$2,961.00
$5,000.00
$9,000.00
$540.00
$600.00
$835.00
$6,000.00
$300.00
$540.00
$1,200.00
$1,970.00
$400.00
$9,800.00
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Abreu, Rene/Lourdes Acct. (1)
Mortgage Pros Acct.

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RLA Homes Acct.

Abreu, Rene/Lourdes Acct. (1)
Mortgage Pros Acct.

Abreu, Rene/Lourdes Acct. (1)

RLA Homes Acct.

Abreu Real Estate Trust Acct.

Mortgage Pros Acct.

RLA Homes Special III Acct.
RLA Homes Special III Acct.
235 72nd St Acct.

Abreu, Rene/Lourdes Acct. (1)
Abreu, Rene/Lourdes Acct. (1)
Abreu, Rene/Lourdes Acct. (1)
235 72nd St Acct.

Mortgage Pros Acct.

RLA Homes Acct.

RLA Homes Acct.

RLA Homes Acct.

RLA Homes Acct.

Abreu Real Estate Trust Acct.

RLA Homes Acct.

RLA Homes Acct.

235 72nd St Acct.

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$540.00

$9,500.00
$9,900.00
$9,900.00
$1,025.00
$5,200.00
$1,780.00
$9,900.00
$1,300.00
$100.00

$9,900.00
$7,500.00
$1,700.00
$920.00

$1,037.00
$1,725.00
$850.00

$900.00

$9,012.00
$6,695.00
$9,500.00
$6,085.00
$1,500.00
$9,500.00
$3,000.00

$850.00
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Abreu, Rene/Lourdes Acct. (1)
Abreu, Rene/Lourdes Acct. (1)
Lucky Estates Inc Acct.

235 72nd St Acct.

Abreu Real Estate Trust Acct.

Abreu, Rene/Lourdes Acct. (1)
Abreu, Rene/Lourdes Acct. (2)
Abreu, Rene/Lourdes Acct. (2)
Mortgage Pros Acct.

Gateway 1 LLC Acct.

Abreu, Rene/Lourdes Acct. (1)
Abreu, Rene/Lourdes Acct. (1)
Gateway 1 LLC Acct.

235 72nd St Acct.

Abreu, Rene/Lourdes Acct. (1)
235 72nd St Acct.

Abreu Real Estate Acct.
Abreu, Rene/Lourdes Acct. (1)
Abreu, Rene/Lourdes Acct. (2)

Mortgage Pros Acct.

Abreu Real Estate Trust Acct.

Abreu, Rene/Lourdes Acct. (2)

Abreu, Rene/Lourdes Acct. (2)

406 Jefferson Homes LLC Acct.

85 Madison House LLC Acct.

Gateway 1 LLC Acct.

51

$625.00

$2,630.00
$9,000.00
$1,595.55
$500.00

$1,320.00
$580.00

$100.00

$9,000.00
$9,500.00
$1,682.64
$219.00

$8,290.00
$1,450.00
$1,200.00
$1,500.00
$3,000.00
$260.00

$1,200.00
$6,030.00
$5,000.00
$2,600.00
$1,018.00
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$8,900.00

$8,200.00
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7504 4th St Ave LLC Acct.
Abreu, Rene/Lourdes Acct. (1)

235 72nd St Acct.

Abreu Real Estate Trust Acct.

Abreu Real Estate Trust Acct.

Abreu, Rene/Lourdes Acct. (1)
235 72nd St Acct.

Abreu, Rene/Lourdes Acct. (1)
Abreu, Rene/Lourdes Acct. (2)
235 72nd St Acct.
Lourdes/Adan Acct. (2)

Abreu Real Estate Acct.

Abreu Real Estate Trust Acct.

Lourdes/Adan Acct. (1)

Lourdes/Adan Acct. (2)

406 Jefferson Homes LLC Acct.

Lourdes/Adan Acct. (2)
7504 4th St Ave LLC Acct.
Gateway 1 LLC Acct.

Lourdes/Adan Acct. (2)

406 Jefferson Homes LLC Acct.

Gateway 1 LLC Acct.
Lourdes/Adan Acct. (2)

235 72nd St Acct.

406 Jefferson Homes LLC Acct.

Lourdes/Adan Acct. (2)

52

$1,300.00
$1,696.00
$850.00

$1,010.00
$1,300.00
$515.00

$600.00

$1,217.00
$280.00

$2,200.00
$1,682.00
$9,030.00
$125.00

$2,500.00
$2,000.00
$9,900.00
$1,125.00
$1,300.00
$9,900.50
$1,984.00
$9,000.00
$8,353.00
$1,507.00
$1,550.00
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406 Jefferson Homes LLC Acct.

Jersey Homes TRE Special Inc Acct.

235 72nd St Acct.

Lourdes/Adan Acct.

235 72nd St Acct.

Abreu Real Estate Trust Acct.

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(2)

Abreu/Cervino Acct.

Jersey Homes TRE Special Inc Acct.

85 Madison House LLC Acct. (3)

Abreu Real Estate Acct.

235 72nd St Acct.

Abreu Real Estate

Lourdes/Adan Acct.

235 72nd St Acct.

Lourdes/Adan Acct.

235 72nd St Acct.

Abreu Real Estate

Lourdes/Adan Acct.

235 72nd St Acct.

Lourdes/Adan Acct.

235 72nd St Acct.
Abreu Real Estate

Abreu Real Estate

Lourdes/Adan Acct.

235 72nd St Acct.

Jersey Homes Tre Special Inc.

53

Trust Acct.

(2)

Trust Acct.

(1)

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$4,000.00
$7,800.00
$700.00
$376.00
$9,900.00
$1,500.00
$9,900.00
$9,900.00
$9,900.00
$5,000.00
$1,100.00
$1,513.75
$650.00
$900.00
$220.00
$900.00
$5,140.70
$900.00
$2,050.00
$2,600.00
$2,000.00
$185.00
$515.00
$1,490.00

$1,475.00

Acct.$6,500.00
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Lourdes/Adan Acct. (2)
Lourdes/Adan Acct. (1)
Gateway 1 LLC Acct.

Gateway 1 LLC Acct.

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$1,733.00
$4,980.00
$5,336.00

$6,000.00

On or about each the dates set forth below, members

of the conspiracy obtained either an official check, certified

check or bank check for the benefit of defendant RENE ABREU or one

of the companies under his control which was subsequently

deposited into one of the following bank accounts: Mortgage Pros

Acct. ;
law firm bearing the initials R.D.S.H.P.
Acct.”);

Acct.”);

Hudson United Acct.

Hudson United Acct.

Jefferson Homes LLC Acct.”),

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DATE:

05/22/97
05/23/97
05/23/97
05/27/97
06/06/97
06/06/97
06/16/97
06/16/97
06/16/97
04/01/98

04/01/98

ACCOUNT :
Mortgage
Mortgage
Mortgage
Mortgage
Mortgage
Mortgage
Mortgage
Mortgage

Mortgage

RDS Trust Acct.

RDS Trust Acct.

First Fidelity bank client trust accounts maintained by the

(hereinafter “RDS Trust
No. 2140002007 (hereinafter “V.P.
No. 2140003381 (hereinafter “406

as described below:

AMOUNT :
Pros Acct. $9,000.00
Pros Acct. $10,000.00
Pros Acct. $20,000.00
Pros Acct. $9,000.00
Pros Acct. $9,000.00
Pros Acct. $1,000.00
Pros Acct. $9,000.00
Pros Acct. $10,000.00
Pros Acct. $20,000.00

$5,500.00

$5,000.00

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12. 04/01/98
13. 02/25/99
14. 03/24/00
15. 03/27/00
16. 04/18/00

17. 04/19/00

In violation of Title 18,

371.

RDS

V.P.

406

406

406

406

Trust Acct

Acct.

Jefferson

Jefferson

Jefferson

Jefferson

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Homes

Homes

Homes

Homes

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LLC Acct.
LLC Acct.
LLC Acct.

LLC Acct.

United States Code,

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$10,000.00
$9,000.00
$9,500.00
$10,000.00
$9,900.00

$25,000.00

Section
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COUNTS NINETEEN THROUGH FORTY-TWO

(Structuring Currency Transactions)

1. Paragraphs 1 through 2 and 4 through 13 of Count
One; Paragraphs 2 and 4 through 10 of Count Two; Paragraphs 4
through 6 of Count Thirteen; Paragraphs 2 through 6 and 8 through
11 of Count Fourteen; Paragraphs 3 through 6 of Count Fifteen;
Paragraphs 2 and 4 through 10 of Count Seventeen; and Paragraphs 2
and 4 through 8 of Count Eighteen are realleged and incorporated
as if fully set forth herein.
2. On or about the dates set forth below, in the
District of New Jersey, and elsewhere, defendants
RENE ABREU,
LOURDES ADAN-ABREU,
ANA MARTELL,
KATHY GIUNTA, and
EDGARDO AGUIRRE, a/k/a “Eddie Aguirre”
did knowingly, willfully, and for the purpose of evading the
reporting requirements of Title 31, United States Code, Section
5313(a) and the regulations issued thereunder, structure, attempt
to structure, and assist in structuring transactions with domestic
financial institutions by causing United States currency in the

amounts set forth below to be deposited into accounts at financial

institutions in amounts of less than $10,000 as more particularly

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described in Paragraph 9 of Count Eighteen of this Indictment, as

described below:

Defendants Date Reference to | Approximate
Paragraph 9 of Amount
Count Eighteen
Nineteen | Abreu 5/2/97 9 (a) (1-5) $25,255
Adan-Abreu through
5/7/97
Twenty Abreu 5/19/97 9(a) (6-10) and $60,540
Adan-Abreu through 9 (b) (1-3)
Martell 5/23/97
Giunta
Aguirre
Twenty- Abreu 5/27/97 9(a) (11-18) and $50,875
One Adan-Abreu through 9(b) (4)
Martell 5/29/97
Twenty- Abreu 6/3/97 9(a) (19-27) and $55,788
Two Adan-Abreu | through 9(b) (5-6)
Martell 6/6/97
Giunta
Twenty- Abreu 6/16/97 9 (a) (28-32) and $79,600
Three Adan-Abreu through 9 (b) (7-9)
Martell 6/17/97
Giunta
Aguirre
Twenty- Abreu 7/1/97 9 (a) (33-37) $19,944
Four Adan-Abreu through
7/8/97
Twenty- Abreu 7/14/97 9 (a) (38-42) $16,700
Five Adan-Abreu through
8/4/97
Twenty- Abreu 10/29/97 | 9(a) (43-47) $14,136
Six Adan-Abreu through
11/6/97
Twenty- Abreu 1/26/98 9 (a) (48-55) $19,015
Seven Adan-Abreu through
2/4/98

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Count Defendants Date Reference to Approximate
Paragraph 9 of Amount
c : Count Eighteen
Twenty- Abreu 3/20/98 9(a) (56-68) and $84,565
Eight Adan-Abreu ; through 9 (b) (10-12)
Martell 4/6/98
Giunta
Twenty- Abreu 4/13/98 9 (a) (69-73) $28,700
Nine Adan-Abreu through
4/15/98
Thirty Abreu 8/4/98 9(a) (74-81) $22,839
Adan-Abreu through
8/7/98
Thirty- Abreu 9/18/98 9(a) (82-84) $17,085
One Adan-Abreu through
9/25/98
Thirty- Abreu 10/1/98 9 (a) (85-89) $16,605
Two Adan-Abreu through
10/5/98
Thirty- Abreu 10/16/98 9(a) (90-92) $11,095
Three Adan-Abreu through
10/19/98
Thirty- Abreu 12/17/98 | 9(a) (93-96) $11,000
Four Adan-Abreu through
12/21/98
Thirty- Abreu 2/1/99 9 (a) (97-103) $23,841
Five Adan-Abreu through
2/5/99
Thirty- Abreu 2/22/99 9(a) (104-106) and | $13,460
Six Adan-Abreu through 9(b) (13)
Martell 2/25/99
Thirty- Abreu 3/11/99 9 (a) (107-109) $13,630
Seven Adan-Abreu through
3/19/99
Thirty- Abreu 7/26/99 9(a) (110-122) $29,786
Eight Adan-Abreu through
8/6/99
Thirty- Abreu 2/7/00 9 (a) (123-125) $12,912
Nine Adan-Abreu through
2/11/00

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Defendants Date Reference to Approximate
Paragraph 9 of Amount
Count Eighteen
Forty Abreu 3/24/00 9(a) (126-159) and | $188,733
Adan-Abreu through 9(b) (14-17)
Martell 5/8/00
Aguirre
Forty- Abreu 5/30/00 9 (a) (160-167) $18,878
One Adan-Abreu | through
6/14/00
Forty- Abreu 10/31/00 | 9(a) (168-169) $11,336
Two Adan-Abreu through
11/2/00

In violation of Title 31, United States Code, Sections
5324 (a) (3) and 5324(d) (1), and Title 18, United States Code,

Section 2.

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COUNT FORTY -THREE

(Payment of Monies to Bank Official)

1. Paragraphs 1, 2 and 4 through 13 of Count One and
Paragraphs 4 through 6 of Count Thirteen and Paragraphs 2 through
6 and 8 through 11 of Count Fourteen and Paragraphs 3 through 6 of
Count Fifteen; Paragraphs 2 and 4 through 10 of Count Seventeen;
and Paragraphs 2 and 4 through 8 of Count Eighteen are realleged
and incorporated as if fully set forth herein.

2. From in or about August 1995 through in or about
August 1997, in Hudson County, in the District of New Jersey, and
elsewhere, defendant

LOURDES ADAN-ABREU

did knowingly, willfully and corruptly give, offer, and promise a
thing of value to another individual, with the intent to influence
and reward an officer and employee of Hudson United, a financial
institution, in connection with the business and transactions of
Hudson United, in that defendant ADAN-ABREU gave, offered and
promised to a bank teller at Hudson United more than $5,000 in
cash payments in connection with the business and transactions of
Hudson United.

In violation of Title 18, United States Code, Sections

215(a) (1) and 2.

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FIRST FORFEITURE ALLEGATION

1. The Grand Jury realleges and incorporates by
reference the allegations contained in this Indictment for the
purpose of noticing forfeiture pursuant to Title 31, United States
Code, Section 5317.

a. As a result of committing the structuring of
monetary transactions offenses, in violation of Title 31, United
States Code, Sections 5324(a) (3) and 5324(d)(1) alleged in Counts
Nineteen through Forty-two of this Indictment, defendants

RENE ABREU,
LOURDES ADAN-ABRBU,
ANA MARTELL,
KATHY GIUNTA, and
EDGARDO AGUIRRE, a/k/a “Eddie Aguirre”
shall forfeit to the United States, pursuant to Title 31, United
States Code, Section 5317(c) (1), all property, real and personal,
involved in the structuring offenses and all property traceable to

such property, including, but not limited to, the following:

Money Judgment

b. A sum of money equal to $846,320 in United States
currency, representing the total amount of money involved in the
offense of structuring monetary transactions, in violation of
Title 31, United States Code, Sections 5324(a) (3) and 5324(d) (1),
for which defendants RENE ABREU, LOURDES ADAN-ABREU, ANA MARTELL,
KATHY GIUNTA, and EDGARDO AGUIRRE, a/k/a “Eddie Aguirre” are

jointly and severally liable.

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Real Property

c. All right title and interest the defendants have in
certain lots or parcels of land, together with their buildings,
appurtenances, improvements, fixtures, attachments and easements,
located at:

(1) 1121-23 Juanita Place
Fort Lee, New Jersey 07024;

(2) 6808 Bergenline Avenue
Guttenberg, New Jersey 07093;

and
(3) 406 Jefferson Street
Hoboken, New Jersey 07030.
d. If any of the above-described forfeitable property,
as a result of any act or omission of the defendant(s):

i. cannot be located upon the exercise of due
diligence;

ii. has been transferred or sold to, or deposited with,
a third person;

iii. has been placed beyond the jurisdiction of the
Court;

iv. has been substantially diminished in value; or

v. has been commingled with other property which cannot
be subdivided without difficulty,

it is the intent of the United States, pursuant to 31 U.S.C.
Section 5317(c) (1), to seek forfeiture of any other property of
said defendant(s) up to the value of the above forfeitable
property, all in violation of Title 31, United States Code,

Sections 5317(c) (1), 5324(a) (3) and 5324(d) (1).

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SECOND FORFEITURE ALLEGATION

1. The Grand Jury realleges and incorporates by
reference the allegations contained in this Indictment for the
purpose of noticing forfeiture pursuant to Title 18, United States
Code, Section 982.

a. As a result of committing the money laundering
offenses in violation of Title 18, United States Code, Section
1956 (h) alleged in Count Thirteen of this Indictment, defendants

RENE ABREU,

LOURDES ADAN-ABREU, and

ANA MARTELL
shall forfeit to the United States, pursuant to Title 18, United
States Code, Section 982, all property, real and personal,
involved in the money laundering offenses and all property
traceable to such property, including, but not limited to, the
following:

Money Judgment

b. A sum of money equal to $300,000 in United States
currency, representing the total amount of money involved in the
offense of money laundering, in violation of Title 18, United
States Code, Section 1956(h), for which defendants RENE ABREU,
LOURDES ADAN-ABREU, and ANA MARTELL are jointly and severally
liable.

Real Property

c. All right title and interest the defendants have in
a certain lot or parcel of land, together with its buildings,

appurtenances, improvements, fixtures, attachments and easements,

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located at 6808 Bergenline Avenue, Guttenberg, New Jersey 07093.
dad. If any of the above-described forfeitable property, as a

result of any act or omission of the defendant(s):

i. cannot be located upon the exercise of due
diligence;
ii. has been transferred or sold to, or deposited

with, a third person;

iii. has been placed beyond the jurisdiction of
the Court;

iv. has been substantially diminished in value; or

v. has been commingled with other property which
cannot be subdivided without difficulty,

it is the intent of the United States, pursuant to 18 U.S.C.
Section 982(b), to seek forfeiture of any other property of said
defendant(s) up to the value of the above forfeitable property,

all in violation of Title 18, United States Code, Sections 982 (b)

and 1956(h).

A TRUE BILL,

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